Case 1:17-cv-20158-JEM Document 40 Entered on FLSD Docket 05/05/2020 Page 1 of 7
(F:nn4)                       AfndavitAecompanp ng M otion for        -
                                                                                                      FILED BY /Y-                       D.C.
                            Perm ission toAppealIn Form a Pauperis                                             Mlt 25 2222
                                           '

                 Uniteustate:Districtcourtfortlw 3oolinv
                                                       -
                                                       n,''
                                                          , Distrittof
                                                             '
                                                                       /-                                          u             .

                                                                                                               ktkkkJllï?u
                                                                                                                .        (.
                                                                                                                    o.o, ,u...MIA I

A.a..el
      al.til '
             -
             r-boj
                 ,,,ç P-
                       .'
                        /oi
                          :.
                           / #.
                              -e.
                                ,
                                /
                                ep)
c.p.,/.:..4..1(Jvt/ja :</,sa.
                         .
                            /J'yr,
                                 pv                                                  c=,No./2-t:-k lW -JF>/
Iaztrx tloa::Comple* allqueo o- inthi:applicauon* 4G en si> it Do notleav.a ybl>-*.:ifth*a we toaquo tioa i,
e.:*..I'w aezo:%osappllçole(N/A).''Auit.inthM roponze. lfyœ needmorespac.to= w> aquodoa oetoexple your
-      ..>- *Ka: arat:1 - of a = identigedwitb ow na .. oe cu e.gdocketnua e I
                                                                             m dthe uesdon numbœ.
Affde t1.SupportefM otloa
Iswte ornœ- = derp-xll ofperje t* ,betaeeofmypove ,Ic= otprepaythedocketRezofmyappealor> st
abon:&rthex IbelieveIa eatidedtore*eg..Ixwee oraT- undœ pev l ofperje underUaitedStatu lawg+at
mypn-- oa*i:fo= ar:A eOdto= œ (2#U.S.C.91744:1:U.S.C.91621.)          g
D.t,:                                      si- i f/              .A
                                                                              ,-,     .p?/
My
1 ia- .o.appealaa: #f- y.0/*' ,o,&;.ok)w#t-
                                       .  c //'                            -rv$ //ke h'z'sco x -
                                                                           j
 .    Fe bothyo.e 'y/v 'poGœ.eaff--ethe> e#ge- - - of & ze<éHe #o- elrâoftkifoll- tngy@m - + ng
      fâepezlzmont- ZW-:e dm.noxtktîwe rerepezweak Ji-ee .quytry.ae-/- xllN oen-- allyf@,A-
      fo monthy 'atl Usegy- - 4*...**.râl'Q.ta /lzaâbeforee dek edo- foe'= - * oth- y
 Iaeo- sou-                                          Aveao oomto a a.m'                      Amlqa.expe e lext
                                                     dariwgœ *pe 1: mllte                    m oltK
                                                                 Yo*             Spo- @           You                 Spo-
 Empl- = t                                           % J                     &               s                  &
 Sdf-œ plom e t                                      & t)                    s               s                  s
 Inco- *om re pm>                                    :   -       Lj          :               $                  :
  huckazreaœ income)
 Inter-e and dividO d:                               $ b                     &.-             &-   -             %-     -

                                                            .)<                              s
 Gi>                                                 $ &-oo 7 .                               .   .   -         s.-            ..

 ,   :1% -                                           $.      0 --            $.-             %-                 &-
 Childx p- rt                                        $-      H               t-              $-                 $-
 Retirœ tnt(suchazSotlalSeturity.pension..i
                                          mnuitio,               J           $               $                  $
 inpx-- j
 DIsabm? (suc:u SociB Seeœil,inxum cepam ena) $ #        .                   %               $                  $
 Unemploymentpaymena                          $ à)                           s               x                  s
 Public--sista ce(suchu welfce)                      $           ?           $               s             -    $-         .


 Othee(:-ciN); .--- .                                $                    - % .-      -      $-           .-    $.-
        roulInoasblyintome:                          $ 'P                    $               %            --    $     -    ..-       .




                                                     l39                                                            Rtv :lN98
Case 1:17-cv-20158-JEM Document 40 Entered on FLSD Docket 05/05/2020 Page 2 of 7

 J. ListyouremploymentJl/.
                         rfoc,moztrecentz-ployee/lx/.I'
                                                      Grossmonthl
                                                                yp. />befor.paezorwAerdeductions)
 Empl:yer                        Ad rex:                          DatezofEmploymeat               G ros, M enthly Pay
        1 PhM W P Ka ;                               Pê



 3. 19:yow 'Jpojge'
                  x epœloy-dafhiuop . z
                                      aoz:eerd- êmploy- Jrzl- (Gross monthly pe Is âe/oge z/zxea or o/Aee
    deductio-.)NA


     How vlrA <ah doyoue zyole spouqAo e? <                 -




    Below.:* R ym*ne m uorm œ sN uzehave 1 *>* atcoœ a otiaanyo-                      xnxnciale imtiom
 Flnlaeialle œ tlo.              '
                                 ryp.ofAceogat                   Amouatyo4 *a#@               Amounjyourspouxe:-

                                                                &         /                   <
                                                                &                             $                       '

 Ifyx .r@ape oae - klngt.mppeâlajudgmelt1*a* llletlole p- e lmwyp.m-tattle:am teoewteeellu
 by * @lpprwpdât@Iu qtutle.alof:eetzK@wiag *M el elpm exyeaditut- *nd bglaxtezdarlg t*@la::e mohthgix
 your> tlt.t*
            - al*ze@uMth lfy@* hav. o/lllpl@*ee@e * peyhl- be au,@ y@* bsvebee. ia multlpl.I- tltutloaw
 attae:o.*t-l'edAtemeatlf**ehaeelult. pji yp.
 J. L# :Ae - <t,.- 2 theW y2v-.whkh #ox - n e w ur'p/-e ow% Do ae lùtrl/zAfag and Jez/ao hou ehou


 !Iom.(VaIu*)                 otkerRealKztmteG alue)            Mote Vekiel.#1(ValM*)
          h                                                     M *e& Ye=
                                                                M odel:           -                            --


                                                                Ilegisx tion #:           .       .   -       -



 ot:erAx:etxlvalae)           Ot:eeAJ..t.
                                        :(Vzlue)                M ltorVeblelen (Vzlue)
                                                                M ake& 't-..6:
                                                                M :de1:                               .


                                                                Regix% tion #:                                    .



 <. Statievzc pet.
                 %o% âtuinel.
                            t ortlrgfzadztlfftzatlwfagyou orlp
                                                             oflr.
                                                                 %pou e?Noae .and thetll/l/un;owed

 Perx a owingyo* @T#ou:
 lpouy.œoaey                              Amoultowtd t.yo.                        Am ount:wed tlyourNpoxz.
           f)                                                                           -



 Rev.:12/'
         t)8
Case 1:17-cv-20158-JEM Document 40 Entered on FLSD Docket 05/05/2020 Page 3 of 7
                                   9
')T f'.%:vlltj //11:pvvr.$.(,
            .                  %,$
                            ltt-
                               b .
                                 ,/. 7 rtj/y.$,
                                    1f        !/1;.,t.):jp yj
                                                            y.),
                                                               .y.)ljrj.
                                                                       y()jj
                                                                       /   xay(
                                                                              '
                                                                              )r..
                                                                                 (yyjyj.
                                                                                       lj.jy(.
                                                                                       .

  Nxlne                                                            1)eIatit)nship




  q à-î-ffrpf
            zreJ/leu
                   zvertigentottthlyt/.vpdz' cs
                                              'e. l'l
                                                rft -.blu :2n:.?vflur/.L,aily..)-/lt.
                                                                   .                 z4vxzparalelvf/    '1eantountspt       zit,
                                                                                                                               / y()t u-vpctu'e. .ltzt
                                                                                                                                                     /pts.f
                                                                                                                                                     a
     :nyptçvtnetttx//)î;f.zz'
                            etttailz:$
                                     ,t?
                                       ..rz
                                          i/'
                                            y,blbvevkly.C    /!tflrrerly,j-er/aivtttttu.lily.t7rrlzlrlrtfl//.p /t'
                                                                                                                 >.r7lf)3.
                                                                                                                         $'f/lenttïnthlvr(;Jd.
                                                                                                              You                             Yaur Spouxe
      ir
       t
       )rhgme-mt
               aT
                sgagepaymt
                         mtfi
                            ntludeI
                                  otrf
                                     znlrt
                                         lft
                                           '
                                           rJ
                                            nubj
                                               lrhome)                                                 $ #4.-l'
                                                                                                              tcov prole
                           Arsreal-estatetaxex included? U Yz$ L'
                                                                1No
                           1.
                            Jpropcrty insurancr included'
                                                        ?(11 YTs 1.
                                                                  1 No                                                                    $
      Utilities(electricîty.lleatingfudl.water,sewer.and (elrphonr)                                                                       %
      lIomemaintcnzncr(rrpairsand upkccp)                                                                                                 $
      Food                                                                                             %                                  $
      Clothing                                                                                         $                                  ç
      l-xondl
            y and dry-cle-
                         nning                                                                         $                                  $
      M edicallmd drntalexpense.
                               x
      rransportafion(notincludinglnotorvclylclepayTlzrnts)                                            ï
      Recfrclion.cnterlainmrntynewspapers,m agnœinzs.etc.                                             $                                   $
      lasurallcr(notdrdlzctedfmm Avage,t>rincludedin morlgagrpaymentx)
                           Ifom eosm er'xorrenter'tl                                                  $                                   $
                           l-ire                                                                      %                                   &
                           iIeislth                                                                   5
                           M tltorVehicle

  '
      l-axrsfntltîleflllti
                         tcsjfrtlrn vvaqt
                                        !s(;rinclllfleçlln
                Inttltgagrpi
                           t,lnents.
                                   )(apccit%
                                           /):                                                                                            T
      lasti'lllnrntplk>l'l'
                          ic!1t.
                               q                                                                                                          $
                           l..fï)t(.yr%v'c11ictc                                                                                          &
                                   f'*.fctlit-
                                             .:ktl'
                                                  t'
                                                   lf1:.îJ'
                                                          nc):                                        ï                                   >

                                   l'
                                    li
                                     rpe
                                       kftm cntkttlfet'nilrrlr)-
                                                               .                                                                          $
                                                                                                      !I
                                                                                                       ; -..-----..---.... ....   ...-.


      ï.
      .lirntlny,r'laintenancr,.t
                               zld '
                                   itlpptlr'
                                           tpi
                                             1.
                                              ld 't
                                                  '
                                                  hSlîhcr-
                                                         r
                                                         .
                                                                                                                                          5

          ..
           eh.
             'cr'.j
                  -.cu-1f,-
                          r'
                          ; #                                                                                                             $
                                                                                                                                          9
Case 1:17-cv-20158-JEM Document 40 Entered on FLSD Docket 05/05/2020 Page 4 of 7




      (
      -1Ytta r'NJo




     lfyes,t
           syt
             ztt01eolttolmey'sll-
                                '
                                u'ne,xldtlress.kuldltlteplltlnentuyltler.




 lt, p/f
       n'eyou7JtzlJ - L)r ;vlf/5:ott/ .
                                      ;.
                                       lp,jplzl.g,
                                                 -;1?I>'f/?1etltht
                                                                 :rrhlpaitn lzJflrrltz  '
                                                                                        yztstlvltr.
                                                                                                  l
                                                                                                  aiJik
                                                                                                      :ftrtllktgktl()r:1p'
                                                                                                                         pk.çn z.
                                                                                                                                u,pmtlnt
                                                                                                                                       yy-plr
     vervjcea f
              n cuzlzTdc-fft
                           la Svtth //lJ
                                       '
                                       : ctue.lzltêlut/lh
                                                        zlg thisct/m/g/tllïl?a éll-thix-h-lrm?

     CJYt
        u             o             Ifyk
                                       lg,how much'
                                                  ?$
     lfycs.stztr the             tln':name,adtlrrsa,and tcluphone numben




 lJ. Provide azr.ptltherizl
                          /brmuffon(hutwI7lhztlp u4'   rzwhy.y(
                                                   #/tzl
                                                       '      4lzcannotpzz.
                                                                          ythef
                                                                              o cktll/eea/bryozv rz/wetrl.



                       )btocc@f'
                               ,/eJ ér'z m'lea/g

                                                                         C                     lr                I
                                                                    p./,8ots o     -
                                                                        2Ib /-f?<<..                           /? J c,z #-
     Yflllrtfaytinlzgl'
                      lt?nutlsllpltper'
                                      .(..-                               t.36
                                                 .- ... . .. . ).. ...- .-.. - ..
                                                                            ..  .t.......
                                                                                        -....-...   ..
                                                                                                     -.--- -.
                                                                                                            -... ...              .-


     '
     ft7llr'i
            'qe' ..   ....-   V.
                               .-.,
                                  :
                                  --.-.--.-.
                                           -.-'?'''tr:
                                                     ,
                                                     ''
                                                      t-
                                                       '
                                                       utlt't'lchoulinq-
                                                                       .....
                                                                           ---
                                                                             .2.
                                                                               -xC
                                                                                 .-J
                                                                                   '.-......-.-..
                                                                                                (*                                    .-
                                                                                                                                           <'
     Your%
         .
         14
          .)cialt
                o'cutt
                     rity ItllLlkber:         ... .. -   /..,..-
                                                               ....-,. .Q.....-. .... .-             .
                                                                                                         ...- . . ...- .-   .- .- .
                                                                                                               Page 1 of3
  Case 1:17-cv-20158-JEM Document 40 Entered on FLSD Docket 05/05/2020 Page 5 of 7

                                                                                          r':.
                                                                                           ..:.
                                                                                              ..g
                                                                                              : y'
                                                                                                 .......
                                                                                                       k.:
                                                                                                         (ë
                                                                                                          j!
                                                                                                           tq.
                                                                                                             :E:.
                                                                                                             :  ::
                                                                                                                 .::y
                                                                                                                  '.
                                                                                                                  .'
                                                                                                                   E'jEL
                                                                                                                    '   .E
                                                                                                                        !
                                                                                                                       '.EJ
                                                                                                                          E:g:
                                                                                                                           i:;l:
                                                                                                                             ' .:'''
                                                                                                                               ;   ''
                                                                                                                                    ''4.'
                                                                                                                                        .E:
                                                                                                                                          3
                                                                                            .
                                                                                            1
                                                                                            $
                                                                                            k,
                                                                                             4
                                                                                             ;
                                                                                            .:
                                                                                             .j .y(1.
                                                                                              .     1
                                                                                                    l
                                                                                                    i
                                                                                                    :
                                                                                                    l
                                                                                                    .#,.LILLILLLL;
                                                                                                     g           .L
                                                                                                                 L)LE!.Ys
                                                                                                                     :@
                                                                                                                    :E:gt
                                                                                                                        cy
                                                                                                                        y
                                                                                                                        .   $
                                                                                                                            '
                                                                                                                         yï;g
                                                                                                                         !  C
                                                                                                                            .
                                                                                                                            r ,.r.
                                                                                                                              :
                                                                                                                            j::
                                                                                                                              ,     .




   AdministrativeHold Indicator:
         NoPowerofAttorney:
                                                                                                                                     t
                                                                                                                                     /
                                                                                                                                              z4
         NeverW'aiveNSF Fee:                                                                                                         z/<?/t
                                                                                                                                         fra/.
      MaxAllowed Deduction %: l00                                                                                                1
                             PIN:    2551
                          PAC #:     893902838
              RevalidationDate:      28th
        I-RP Participation Status:
                  Anived From: PHL
                                     Complcted
                                                                                       : jo+: +
                                                                                :%wo
                                                                                   p/)g y
                 Transferred T0:
          AccotlntCreation Date:
   I.ocalAccountActivationDate:                                                       #o:
                   SortCodes:
                                                                                       gt
           LastAccountUpdate:
                AccountStattls:
                Phone Balance: $0.00



        Pre-lteleasePlan Information

        TargetPre-ReleaseAccountBalance: $0. 00
                  Pre-ReleaseDeduction %: 0%
         lncomeCategoriesto DeductFrom: Q' Payroll             ..
                                                                / OutsideSourceFunds



   FRP Plan Information

   FRP Plan Type           Experted Amount       Expected Rate

 A'ccount Balances

                                   AccountBalancc:     $0.2I
                                Pre-ReleaseBalance:    $0.00
                                 DebtEncumbrance:      $0.00
                                 SPO Encumbrance:      $0.00
                                OtherEncumbrances:     $0.00
                   OutstandingNegotiableInstruments:   $0.00



https://10.33.101.lo6/truw eb/lnm atelnquil com bined.aspx                                                           4/30/2020
                                                                                              Page 2 of3
<   Case 1:17-cv-20158-JEM Document 40 Entered on FLSD Docket 05/05/2020 Page 6 of 7

                           AdministrativeHold Balance: $0.00
                                    AvailableBalance:     $0.21
                            National6 MonthsDeposits:                                     y   :/> <
                        National6M onthsW ithdrawals:     $2,l0l.14             A     ow ç
     AvailableFundsto beconsidered tbrIFRP Payments:      $1.528.72          Lvv .k e k# 'g
                  National6M onthsAvg Daily Balance:      $76.l6
                                                                           4pt Qo fm oùjy
                    LocalM ax.Balance-Prev.30 Days:
                       AverageBalance-Prev.30 Days:
                                                          $1l2.32
                                                          $32.l7
                                                                                (t,. gï


     Purchases

        Validation PeriodPurchases: $0.00
                    YTD Purchases: $2.179.05
                     LastSalesDate: 4/22/2020 l:52:53PM



     SPO Information

                   SPO'sthisMonth: 0
                  SPO $thisQuarter: $0.00


     Spending LimitInfo

           Spending LimitOverride: No
               W eekly Revalidation: No
            Bi-Weekly Revalidation: Yes
                   Spending Limit: $l80.00
          Expended Spending Limit: $65.80
         Remaining Spending Limit: $114.20

    C on1InI
           -ss-arv.'ltestrictions
                                -



     Spending LimitRestrictions

                 Restricted Spending Limit'
                                          . $0.00
              Restricted Expended Amount: $0.00
     RestrictedRemaining Spending Limit: $0,00
                      RestrictionStartDate:
                       Restriction End Date: N/A




                                                     StartDate        End Date   Artive




https://10.33.101.lo6/truw eb/lnm atelnquia com bined.aspx                                     4/30/2020
Case 1:17-cv-20158-JEM Document 40 Entered on FLSD Docket 05/05/2020 Page 7 of 7


                                                                                                               L- Y *t FH
                                                              FH F8 t-                                         O . C)=
                                                                                                               Fa. c +11
                                                             w     >1c                                         > .     B
                                                                  r, >
                                                                  M  rd                                            tzl o (n
                                                  . ..,     .e zj                                              tzl O F%
                                                    #'. .Y Y 74
                                                                  * >                                          (/1                    *
                                                    ... . .
                                                                  :r rd                                              & p. >1
                                                              x c                                              :< c R *
                                                                  =                                            t' c                o
                                                    Vk (7
                                                      g j.     j x                                                          J'
                                                     + fn >                                                                     :!' >
                                                                                                                                '.,'
                                                          / r: L''d                                            to                 2qo
                                                                                                                                  .
                                                         t((7 t:t                                                                     &
                                                             c. &                                            c
                                                                                                             œ
                                                                                                             ON
                                                         m >                                                 >                            l
                                                         M N                                                 &                        &
                                                                                                                                      &
                                                         O CD                                                                         >
                                                         > N
                                         -                  &
                                             j!            txl
                                                           &

                  Z                                                       = > * = D >
                 * c                                                      +'O c (/1 F= >
                                                                          > O c     m ()Q
                                                  h)
         =
         z$. :
             > E:   X                              '
                                                   j                      bâ.   = bz. X*F=
                                                                          w œ . œ         p
         Aîe
           .j.                           g         1
                                                  -..
                                                                              =     rt O
                                                  ple                     M c :< 8 *% =
    x
    Q        !.a
              K =a a
              .    =. =.                 o        (g
                                                                          L-d ND Fa. Fu. O
                                                                                 ;; (7 C3 =
    .- , .- o .x a
    =                                             dl                      L) R t: O F=
    u    . :u w: ;                                *                       to ' Fu. ;: (7
    m
    .
    K @ sa
    -    =x
          s= x.
              2.j
                =at : e.                                                  hu    >    o rf
                                                                          œ     <    <
    <
    =g
    =
    qGax=:J=:
       o    *Rou.
                !-4y                                                        t   (7   *$
      x==: =.e   :
                 y.                                                       .'4
                                                                          .<
                                                                                .    rr
    .
    o
    w
    -*
     oh<K<
    œd a
         8:v
           e
           sr
             Im'g
                : .   .                  .                                =                             Q
                                                                                                        hL*
    8a:o
       œ wra;
         ':w.
            2.j                          ,                                                    *
                                                                                              '
                                                                                                        1k11.
                                                                                                        a
                                                                                                        Y
                                                                                                                      . .I
                                                                                                                     ...d.
    o u.:2 '
           j=s.                          ,                                                              >*           1'
                                                                                                                      9'o
                                                                                                                        ,
                                                                                                                        -
         w=
         a .
           -e o
              .p.o w .                   .
                                        ,,
                                         .                                                              *q(             1. ..w .
    O
    W
    m    1  :Y.teW ''r:                                                                                 k
                                                                                                        2#
                                                                                                         '
                                                                                                         .l .z# ''''
                                                                                                                    .''''
                                                                                                                        -
                                                                                                                                      .
         =- c œ
         .
                                                                                                        (
                      bs                                                                                k%
                                                                                                        %'U
                                                                                                          W! s
                                                                                                          Q
                                                                                                          K
                                                                                                              jX'#>*zl .t
                                                                                                                        .
   :,
         A'
          g  ..       5 '- . '           '                                                                            ' tb
                             -.          .                                                                               <s%*''
         .- o z:z                                                                                         #.                     1(*
                                                                                                                                 ! .
                                                                                                        :.
                                                                                                         11                     +. ..
                                                                                                                                 jj
                                                                                                                                 ,
                                                                                                                                 .
                                                                                                                                 grr
                                                                                                                                   :
                                                                                                                        . .*
                              c                                                                         a :' .o            .
                                                                                                                      .. .e c;
                                                                                                                     .1         s'

                            ,''         Nx                                                                       . z'
                                         x                                                              m
                                                                                                         C)                               *
                                    K                                                                 '(.X..
                                    >
                                    ''
                           #rr=
                              öcaK+
                                  '
                                  a
                          jk I
                             -'U x) 0                                                                  c
                                    co
                                                                                                       t/t
                                    o                                                                  >


                                                                                                  .*.
                                                                                                      W)                                  :
                                                                                                      ;p;1
                                                                                                  ,
                                                                                                      p.
                                                                                                      r
                                                                                                  4                         .
                                                                                                  / '
                                                                                                  (0                        '
                                                                                                  NX

                                  M *
